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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION

UNITED STATES OF AMERICA,                          Case No. 2:20-cr-14-07

                   Plaintiff,                      Hon. Paul L. Maloney
                                                   U.S. District Judge
      v.

DANIEL NATHAN WESTPHAL,

                   Defendant.
                                         /

                           ORDER REVOKING BOND

      On December 14, 2020, Defendant Westphal entered a plea of guilty to the

charge of conspiracy to distribute and possess with intent to distribute

methamphetamine.       The next day, the undersigned entered a Report and

Recommendation recommending that the District Judge accept Defendant’s plea and

adjudicate him guilty. (ECF No. 155.)

      On January 4, 2021, Judge Maloney entered an order adopting the report and

recommendation and adjudicating Defendant guilty. (ECF No. 166.)

      The undersigned held a bond review hearing on January 11, 2021. Pursuant

to 18 U.S.C. § 3143(a)(2), and for reasons stated on the record, Defendant’s bond is

hereby revoked.

      Defendant is hereby ordered to report to the United States Probation Office in

Marquette for a drug test prior to noon on Thursday, January 14, 2021. After this

drug test is complete, Defendant shall immediately report to the Marquette County

Jail, where he will remain detained pending sentencing.
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        IT IS SO ORDERED.




Date:    January 12, 2021       /s/Maarten Vermaat
                            MAARTEN VERMAAT
                            UNITED STATES MAGISTRATE JUDGE
